Case 2:22-cv-03941-ES-JBC Document 19 Filed 07/22/22 Page 1 of 3 PageID: 431




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Attorneys for Defendants

UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
----------------------------------------------------- x
                                                      :
LEGAL BAY LLC,                                        :
                                                      :
                             Plaintiff,               : Case No. 2:22-cv-03941-ES-JBC
                                                      :
                 - against -                          : Removed from the Superior Court
                                                      : of the State of New Jersey, Essex
MUSTANG FUNDING, LLC, MUSTANG : County – Chancery Division,
SPECIALTY FUNDING I, LLC,                             : Docket No. (ESX-C-000086-22)
MUSTANG SPECIALTY FUNDING II, :
LLC, JAMES BELTZ, and KEVIN                           : Motion Day: August 15, 2022
CAVANAUGH,                                            :
                                                      :
                               Defendants.            :
----------------------------------------------------- x
               NOTICE OF DEFENDANTS’ MOTION TO DISMISS

       PLEASE TAKE NOTICE THAT on August 15, 2022, at 9:00 a.m.,

pursuant to this Court’s Motion Calendar, or as soon thereafter as counsel may be

heard, the undersigned counsel for Defendants Mustang Funding, LLC, Mustang

Specialty Funding I, LLC, and Mustang Specialty Funding II, LLC, James Beltz,

and Kevin Cavanaugh, shall move this Court, before the Honorable Esther Salas,

United States District Judge for the District of New Jersey, at the Martin Luther King
Case 2:22-cv-03941-ES-JBC Document 19 Filed 07/22/22 Page 2 of 3 PageID: 432




Building & U.S. Courthouse, 50 Walnut Street Room 4015, Newark, New Jersey

07101, for an Order dismissing all causes of action asserted against Defendants in

Plaintiff’s complaint, dated May 16, 2022, pursuant to Federal Rules of Civil

Procedure 12(b)(2), 12(b)(6), and 9(b).

      PLEASE TAKE FURTHER NOTICE THAT in support of this motion,

Defendants shall rely on the accompanying memorandum of law in support of their

motion to dismiss the complaint and the declaration of Christian T. Becker with

exhibits annexed thereto.

      PLEASE TAKE FURTHER NOTICE THAT a proposed form of Order

granting Defendants’ motion is enclosed herewith.

Dated:      July 22, 2022
            New York, New York

                                              KASOWITZ BENSON TORRES LLP

                                              By: /s/ Christian T. Becker
                                                 Christian T. Becker
                                                 Sheron Korpus (pro hac vice
                                                 forthcoming)
                                                 Edward E. Filusch (pro hac vice
                                                 forthcoming)
                                                 David Tyler Adams (pro hac vice
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Case 2:22-cv-03941-ES-JBC Document 19 Filed 07/22/22 Page 3 of 3 PageID: 433




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                                         Attorneys for Defendants




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